Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 1 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 2 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 3 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 4 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 5 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 6 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 7 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 8 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 9 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 10 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 11 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 12 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 13 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 14 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 15 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 16 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 17 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 18 of 19
Case 1:04-cv-01991-RMU Document 1 Filed 11/15/04 Page 19 of 19
